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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )

)
Vv. ) Criminal No. 20-07J
)
ALEXIS BROLIN, JR. )

ORDER OF COURT

AND NOW, to-wit, this oT aay of / yg JS 1, 2020, upon
consideration of the foregoing Motion to Extend Time to File Pretrial
Motions, it is hereby ORDERED, ADJUDGED AND DECREED that said
motion be, and the same hereby is, granted;

IT IS FURTHER ORDERED that the extension of time caused by this
continuance (August 3, 2020 through November 2, 2020) be deemed
excludable delay under the Speedy Trial Act 18 U.S.C. §3161 et seq.
Specifically, the court finds that the ends of justice served by granting this
continuance outweigh the best interest of the public and the defendant to a
speedy trial, 18 U.S.C. §3161(h)(7)(A), since, for the reasons stated in
defendant's motion, the failure to grant such continuance would deny counsel

for the defendant reasonable time necessary for effective preparation, taking

into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(v).
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IT IS FURTHER ORDERED that any pretrial motions referred to in

Local Criminal Rule 12 are due on or before November 2, 2020.

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Kim R. Gibson

United States District Judge

 

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